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          Exhibit A
Bitcoin Futures CME Historical Data - Investing.com                                                                                                                                            https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                                                         Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 2 of 78

                                                                                          � Picked by our AI, SMCI soared +255% in Q1! Get our Q2 picks before they takeoff   Access Now
         Bitcoin Futures CME - Apr
         24 (BMC)
                 CME                                                                                                                                                                                                                     Add to Watchlist          Create Alert

                                                                                                                                                                                                                                             Type:               Financial Future
                 66,090.00 -460.00 (-0.69%)                                                                                                                                                                                                  Market:             United States
                                                                                                                                                                                                                                             Month:              Apr 24
                       16:59:47 - Delayed Data. Currency in USD ( Disclaimer )



         Prev. Close: 66,550.00        Open: 65,865.00      Day's Range: 64,910.00 - 67,455.00




         General         Chart      Technical

         Overview        Historical Data


         Bitcoin Futures CME Historical Data
         Time Frame:
         Daily                                                                                                                                                                                                               Download Data        03/01/2024 - 04/01/2024


          Date                                                                                   Price                         Open                      High                         Low                         Vol.                                           Change %
          Apr 01, 2024                                                                     70,380.00                         71,500.00                72,230.00                    68,590.00                      8.08K                                                -2.53%
          Mar 31, 2024                                                                     72,205.00                         71,500.00                72,230.00                    71,500.00                      0.29K                                                 1.27%
          Mar 28, 2024                                                                     71,296.17                         68,860.00                71,570.00                    68,840.00                      1.73K                                                 3.88%
          Mar 27, 2024                                                                     68,635.00                         69,915.00                71,765.00                    68,305.00                     10.71K                                                -1.16%
          Mar 26, 2024                                                                     69,440.00                         70,095.00                71,595.00                    69,330.00                     13.92K                                                -2.38%
          Mar 25, 2024                                                                     71,130.00                         66,505.00                71,425.00                    66,390.00                     17.48K                                               11.84%
          Mar 22, 2024                                                                     63,600.00                         65,585.00                66,750.00                    62,680.00                     10.28K                                                -3.01%
          Mar 21, 2024                                                                     65,575.00                         68,150.00                68,360.00                    64,600.00                      0.27K                                                -0.63%
          Mar 20, 2024                                                                     65,990.00                         64,130.00                68,020.00                    61,020.00                     13.91K                                                 2.16%
          Mar 19, 2024                                                                     64,595.00                         67,755.00                68,385.00                    62,485.00                     13.85K                                                -3.85%
          Mar 18, 2024                                                                     67,180.00                         68,480.00                69,275.00                    66,830.00                      8.67K                                                -2.87%
          Mar 15, 2024                                                                     69,165.00                         71,055.00                72,870.00                    66,125.00                     15.86K                                                -0.63%
          Mar 14, 2024                                                                     69,600.00                         73,800.00                74,415.00                    68,805.00                     12.64K                                                -5.84%
          Mar 13, 2024                                                                     73,915.00                         71,370.00                74,365.00                    71,210.00                      7.79K                                                 2.95%
          Mar 12, 2024                                                                     71,800.00                         73,100.00                73,775.00                    69,125.00                     13.57K                                                -1.18%
          Mar 11, 2024                                                                     72,660.00                         69,660.00                73,550.00                    67,550.00                     12.90K                                                 5.26%
          Mar 09, 2024                                                                     69,030.00                         69,030.00                69,030.00                    69,030.00                             -                                             -1.11%
          Mar 08, 2024                                                                     69,805.00                         68,015.00                71,055.00                    66,755.00                     11.25K                                                 2.11%
          Mar 07, 2024                                                                     68,365.00                         66,855.00                68,840.00                    66,060.00                      8.06K                                                 0.89%
          Mar 06, 2024                                                                     67,760.00                         63,935.00                68,200.00                    63,385.00                     13.35K                                                 8.55%
          Mar 05, 2024                                                                     62,425.00                         68,665.00                70,195.00                    60,120.00                     24.39K                                                -8.84%
          Mar 04, 2024                                                                     68,480.00                         63,760.00                68,765.00                    63,055.00                     14.72K                                                 7.29%
          Mar 01, 2024                                                                     63,825.00                         62,005.00                64,065.00                    61,490.00                     10.10K                                                 1.70%
          Highest: 74,415.00                                                                             Lowest: 60,120.00                        Difference: 14,295.00                            Average: 68,558.96                                       Change %: 12.14
                                                                                                                                                                                                             Bitcoin Futures Futures Overview (420)



1 of 4                                                                                                                                                                                                                                                                4/3/2024, 5:18 PM
Bitcoin Futures CME Historical Data - Investing.com                                                                                                                               https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                                          Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 3 of 78

         My Sentiments
                                                                                 � Picked by our AI, SMCI soared +255% in Q1! Get our Q2 picks before they takeoff   Access Now
                                                                                                                                                                                                                                 Vote to see community's
         What is your sentiment on Bitcoin Futures?             or                                                                                                                                                               results!




         Currency Explorer

           Majors     Asia/Pacific    Americas        Africa   Middle East   Europe




                                                                                                                                                                                                Bitcoin Futures Futures Overview (420)



2 of 4                                                                                                                                                                                                                                             4/3/2024, 5:18 PM
Bitcoin Futures CME Historical Data - Investing.com                                                                                                                                https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                                           Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 4 of 78

             Australian Dollar                        North America   Europe               Asia
                                                                                  � Picked by our AI, SMCI soared +255% in Q1! Get our Q2 picks before they takeoff   Access Now
             British Pound                            AUD/USD         AUD/CHF              AUD/JPY

             Canadian Dollar                          USD/AUD         CHF/AUD              JPY/AUD

             Euro                                     AUD/CAD         AUD/PLN              AUD/SGD

             Japanese Yen                             CAD/AUD         PLN/AUD              SGD/AUD

             New Zealand Dollar                       AUD/MXN         AUD/NOK              AUD/THB

             Swiss Franc                              MXN/AUD         NOK/AUD              THB/AUD

                                                                      AUD/SEK              AUD/HKD
             US Dollar
                                                      Pacific
                                                                      SEK/AUD              HKD/AUD
                                                      AUD/NZD
                                                                      AUD/CZK              AUD/CNY
                                                      NZD/AUD
                                                                      AUD/DKK              CNY/AUD
                                                      AUD/FJD
                                                                      DKK/AUD              AUD/IDR

                                                                      AUD/EUR              IDR/AUD
                                                      Middle East
                                                                      EUR/AUD              AUD/INR
                                                      AUD/ILS
                                                                      AUD/GBP              AUD/KRW
                                                      ILS/AUD
                                                                      GBP/AUD              KRW/AUD
                                                      AUD/AED
                                                                      AUD/HUF              AUD/MYR
                                                      AED/AUD
                                                                      AUD/ISK              AUD/PKR
                                                      AUD/SAR
                                                                      AUD/RUB              AUD/TWD
                                                      SAR/AUD
                                                                      RUB/AUD              TWD/AUD
                                                      AUD/BHD
                                                                      AUD/TRY              AUD/PHP
                                                      AUD/JOD
                                                                      TRY/AUD              AUD/LKR
                                                      AUD/OMR
                                                                      AUD/RON              AUD/NPR
                                                      AUD/QAR
                                                                      AUD/BYN
                                                      AUD/LBP
                                                                                           South America
                                                                      AUD/UAH
                                                                                           AUD/ARS

                                                                      Africa               ARS/AUD

                                                                      AUD/ZAR              AUD/BRL

                                                                      ZAR/AUD              BRL/AUD

                                                                      AUD/MAD              AUD/CLP

                                                                      AUD/XAF              AUD/VES

                                                                      AUD/NAD              VES/AUD

                                                                      AUD/KES
                                                                                           Central America
                                                                      AUD/EGP
                                                                                           AUD/PAB
                                                                      AUD/XOF

                                                                      AUD/BWP


                                                                      Carribean
                                                                                                                                                                                                 Bitcoin Futures Futures Overview (420)
                                                                      AUD/XCD


3 of 4                                                                                                                                                                                                                                              4/3/2024, 5:18 PM
Bitcoin Futures CME Historical Data - Investing.com                                                                                                            https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                        Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 5 of 78

                                                      AUD/BBD � Picked by our AI, SMCI soared +255% in Q1! Get our Q2 picks before they takeoff   Access Now
                                                      AUD/JMD




                                                                                                                                                                             Bitcoin Futures Futures Overview (420)



4 of 4                                                                                                                                                                                                                          4/3/2024, 5:18 PM
Bitcoin Futures CME Historical Data - Investing.com                                                                                                                                   https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                                                       Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 6 of 78


         Bitcoin Futures CME - Apr
         24 (BMC)
                 CME                                                                                                                                                                                                         Add to Watchlist          Create Alert

                                                                                                                                                                                                                                 Type:               Financial Future
                 66,090.00 -460.00 (-0.69%)                                                                                                                                                                                      Market:             United States
                                                                                                                                                                                                                                 Month:              Apr 24
                       16:59:47 - Delayed Data. Currency in USD ( Disclaimer )



         Prev. Close: 66,550.00        Open: 65,865.00      Day's Range: 64,910.00 - 67,455.00




         General         Chart      Technical

         Overview        Historical Data


         Bitcoin Futures CME Historical Data
         Time Frame:
         Daily                                                                                                                                                                                                   Download Data        10/01/2022 - 10/21/2022


          Date                                                                               Price                            Open                 High                      Low                         Vol.                                        Change %
          Oct 21, 2022                                                                     19,195.00                        19,050.00           19,250.00                 18,615.00                     10.60K                                              0.87%
          Oct 20, 2022                                                                     19,030.00                        19,150.00           19,340.00                 18,875.00                      9.38K                                             -0.89%
          Oct 19, 2022                                                                     19,200.00                        19,255.00           19,340.00                 19,035.00                      5.61K                                              0.10%
          Oct 18, 2022                                                                     19,180.00                        19,525.00           19,715.00                 19,045.00                      8.66K                                             -1.72%
          Oct 17, 2022                                                                     19,515.00                        19,070.00           19,680.00                 19,070.00                      7.54K                                              2.12%
          Oct 14, 2022                                                                     19,110.00                        19,415.00           19,975.00                 19,065.00                     14.03K                                             -1.29%
          Oct 13, 2022                                                                     19,360.00                        19,150.00           19,575.00                 17,810.00                     23.51K                                              1.39%
          Oct 12, 2022                                                                     19,095.00                        18,935.00           19,145.00                 18,900.00                      5.18K                                              1.03%
          Oct 11, 2022                                                                     18,900.00                        19,165.00           19,225.00                 18,760.00                      9.23K                                             -1.18%
          Oct 10, 2022                                                                     19,125.00                        19,390.00           19,465.00                 19,015.00                      7.45K                                             -1.47%
          Oct 07, 2022                                                                     19,410.00                        19,870.00           20,080.00                 19,260.00                     11.12K                                             -3.07%
          Oct 06, 2022                                                                     20,025.00                        20,085.00           20,515.00                 19,870.00                      9.20K                                             -0.57%
          Oct 05, 2022                                                                     20,140.00                        20,385.00           20,440.00                 19,740.00                      9.67K                                             -0.71%
          Oct 04, 2022                                                                     20,285.00                        19,535.00           20,535.00                 19,515.00                     11.73K                                              3.89%
          Oct 03, 2022                                                                     19,525.00                        19,190.00           19,690.00                 18,785.00                     12.20K                                             -0.88%
          Highest: 20,535.00                                                                            Lowest: 17,810.00                    Difference: 2,725.00                         Average: 19,406.33                                     Change %: -2.56



         My Sentiments
                                                                                                                                                                                                                                       Vote to see community's
         What is your sentiment on Bitcoin Futures?                      or                                                                                                                                                            results!




         Currency Explorer
                                                                                                                                                                                                    Bitcoin Futures Futures Overview (420)



1 of 4                                                                                                                                                                                                                                                    4/3/2024, 5:30 PM
Bitcoin Futures CME Historical Data - Investing.com                                                                                                      https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                                      Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 7 of 78
           Majors     Asia/Pacific    Americas        Africa   Middle East   Europe




                                                                                                                                                                       Bitcoin Futures Futures Overview (420)



2 of 4                                                                                                                                                                                                                    4/3/2024, 5:30 PM
Bitcoin Futures CME Historical Data - Investing.com                                                                                                  https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                                  Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 8 of 78

             Australian Dollar                        North America   Europe      Asia

             British Pound                            AUD/USD         AUD/CHF     AUD/JPY

             Canadian Dollar                          USD/AUD         CHF/AUD     JPY/AUD

             Euro                                     AUD/CAD         AUD/PLN     AUD/SGD

             Japanese Yen                             CAD/AUD         PLN/AUD     SGD/AUD

             New Zealand Dollar                       AUD/MXN         AUD/NOK     AUD/THB

             Swiss Franc                              MXN/AUD         NOK/AUD     THB/AUD

                                                                      AUD/SEK     AUD/HKD
             US Dollar
                                                      Pacific
                                                                      SEK/AUD     HKD/AUD
                                                      AUD/NZD
                                                                      AUD/CZK     AUD/CNY
                                                      NZD/AUD
                                                                      AUD/DKK     CNY/AUD
                                                      AUD/FJD
                                                                      DKK/AUD     AUD/IDR

                                                                      AUD/EUR     IDR/AUD
                                                      Middle East
                                                                      EUR/AUD     AUD/INR
                                                      AUD/ILS
                                                                      AUD/GBP     AUD/KRW
                                                      ILS/AUD
                                                                      GBP/AUD     KRW/AUD
                                                      AUD/AED
                                                                      AUD/HUF     AUD/MYR
                                                      AED/AUD
                                                                      AUD/ISK     AUD/PKR
                                                      AUD/SAR
                                                                      AUD/RUB     AUD/TWD
                                                      SAR/AUD
                                                                      RUB/AUD     TWD/AUD
                                                      AUD/BHD
                                                                      AUD/TRY     AUD/PHP
                                                      AUD/JOD
                                                                      TRY/AUD     AUD/LKR
                                                      AUD/OMR
                                                                      AUD/RON     AUD/NPR
                                                      AUD/QAR
                                                                      AUD/BYN
                                                      AUD/LBP
                                                                                  South America
                                                                      AUD/UAH
                                                                                  AUD/ARS

                                                                      Africa      ARS/AUD

                                                                      AUD/ZAR     AUD/BRL

                                                                      ZAR/AUD     BRL/AUD

                                                                      AUD/MAD     AUD/CLP

                                                                      AUD/XAF     AUD/VES

                                                                      AUD/NAD     VES/AUD

                                                                      AUD/KES
                                                                                  Central America
                                                                      AUD/EGP
                                                                                  AUD/PAB
                                                                      AUD/XOF

                                                                      AUD/BWP


                                                                      Carribean
                                                                                                                                                                   Bitcoin Futures Futures Overview (420)
                                                                      AUD/XCD


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Bitcoin Futures CME Historical Data - Investing.com                                                                                https://www.investing.com/crypto/bitcoin/bitcoin-futures-historical-data?cid=1178665
                                                                Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 9 of 78

                                                      AUD/BBD

                                                      AUD/JMD




                                                                                                                                                 Bitcoin Futures Futures Overview (420)



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Ether Futures Historical Data - Investing.com                                                                                                                                    https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                                                                  Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 10 of 78


         Ether Futures - Apr 24
         (ETH)
                 CME                                                                                                                                                                                                   Add to Watchlist          Create Alert

                                                                                                                                                                                                                           Type:               Financial Future
                 3,333.00 +30.50 (+0.92%)                                                                                                                                                                                  Market:             United States
                                                                                                                                                                                                                           Month:              Apr 24
                       16:59:30 - Delayed Data. Currency in USD ( Disclaimer )



         Prev. Close: 3,302.50        Open: 3,291.00      Day's Range: 3,219.00 - 3,395.50




         General         Chart      Technical

         Overview        Historical Data


         Ether Futures Historical Data
         Time Frame:
         Daily                                                                                                                                                                                             Download Data        03/01/2024 - 04/01/2024


          Date                                                                                Price                      Open                 High                      Low                     Vol.                                           Change %
          Apr 01, 2024                                                                       3,532.50                    3,696.00            3,696.00                 3,441.50                  0.07K                                                -4.46%
          Mar 31, 2024                                                                       3,697.50                    3,668.00            3,706.00                 3,661.50                  0.31K                                                 3.15%
          Mar 28, 2024                                                                       3,584.53                    3,484.50            3,611.50                 3,466.50                  1.28K                                                 2.80%
          Mar 27, 2024                                                                       3,487.00                    3,586.00            3,667.00                 3,460.00                  5.30K                                                -2.05%
          Mar 26, 2024                                                                       3,560.00                    3,600.50            3,677.00                 3,544.50                  4.28K                                                -2.39%
          Mar 25, 2024                                                                       3,647.00                    3,429.00            3,660.50                 3,424.00                  5.70K                                               10.13%
          Mar 22, 2024                                                                       3,311.50                    3,500.50            3,547.00                 3,283.00                  3.92K                                                -5.39%
          Mar 21, 2024                                                                       3,500.00                    3,520.50            3,587.00                 3,417.50                  0.05K                                                 3.34%
          Mar 20, 2024                                                                       3,387.00                    3,299.00            3,505.00                 3,063.50                  8.61K                                                 1.18%
          Mar 19, 2024                                                                       3,347.50                    3,536.00            3,558.00                 3,210.00                  4.07K                                                -4.14%
          Mar 18, 2024                                                                       3,492.00                    3,662.00            3,701.50                 3,469.50                  2.88K                                                -5.77%
          Mar 15, 2024                                                                       3,706.00                    3,879.00            3,956.50                 3,589.00                  4.82K                                                -2.41%
          Mar 14, 2024                                                                       3,797.50                    4,031.00            4,047.00                 3,732.00                  3.77K                                                -5.82%
          Mar 13, 2024                                                                       4,032.00                    3,966.00            4,126.00                 3,962.00                  2.53K                                                 0.65%
          Mar 12, 2024                                                                       4,006.00                    4,088.00            4,138.50                 3,852.00                  4.10K                                                -1.66%
          Mar 11, 2024                                                                       4,073.50                    3,922.00            4,136.00                 3,766.00                  4.52K                                                 3.02%
          Mar 09, 2024                                                                       3,954.00                    3,954.00            3,954.00                 3,954.00                         -                                             -0.83%
          Mar 08, 2024                                                                       3,987.00                    3,895.50            4,040.00                 3,856.00                  4.30K                                                 0.30%
          Mar 07, 2024                                                                       3,975.00                    3,846.00            3,980.00                 3,777.00                  2.86K                                                 1.73%
          Mar 06, 2024                                                                       3,907.50                    3,537.50            3,953.00                 3,533.50                  4.80K                                               13.94%
          Mar 05, 2024                                                                       3,429.50                    3,651.00            3,877.00                 3,309.00                  8.01K                                                -5.59%
          Mar 04, 2024                                                                       3,632.50                    3,510.00            3,656.50                 3,460.50                  4.08K                                                 3.86%
          Mar 01, 2024                                                                       3,497.50                    3,366.50            3,501.00                 3,363.00                  3.73K                                                 1.55%
          Highest: 4,138.50                                                                           Lowest: 3,063.50                   Difference: 1,075.00                         Average: 3,675.85                                    Change %: 2.57
                                                                                                                                                                                               Ether Futures Futures Overview (55)



1 of 4                                                                                                                                                                                                                                              4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                                           https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                                                    Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 11 of 78

         My Sentiments
                                                                                                                                                                                                       Vote to see community's
         What is your sentiment on Ether Futures?            or                                                                                                                                        results!




         Currency Explorer

           Majors      Asia/Pacific     Americas    Africa   Middle East   Europe




                                                                                                                                                                      Ether Futures Futures Overview (55)



2 of 4                                                                                                                                                                                                                  4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                                   https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                                            Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 12 of 78

             Australian Dollar                  North America   Europe      Asia

             British Pound                      AUD/USD         AUD/CHF     AUD/JPY

             Canadian Dollar                    USD/AUD         CHF/AUD     JPY/AUD

             Euro                               AUD/CAD         AUD/PLN     AUD/SGD

             Japanese Yen                       CAD/AUD         PLN/AUD     SGD/AUD

             New Zealand Dollar                 AUD/MXN         AUD/NOK     AUD/THB

             Swiss Franc                        MXN/AUD         NOK/AUD     THB/AUD

                                                                AUD/SEK     AUD/HKD
             US Dollar
                                                Pacific
                                                                SEK/AUD     HKD/AUD
                                                AUD/NZD
                                                                AUD/CZK     AUD/CNY
                                                NZD/AUD
                                                                AUD/DKK     CNY/AUD
                                                AUD/FJD
                                                                DKK/AUD     AUD/IDR

                                                                AUD/EUR     IDR/AUD
                                                Middle East
                                                                EUR/AUD     AUD/INR
                                                AUD/ILS
                                                                AUD/GBP     AUD/KRW
                                                ILS/AUD
                                                                GBP/AUD     KRW/AUD
                                                AUD/AED
                                                                AUD/HUF     AUD/MYR
                                                AED/AUD
                                                                AUD/ISK     AUD/PKR
                                                AUD/SAR
                                                                AUD/RUB     AUD/TWD
                                                SAR/AUD
                                                                RUB/AUD     TWD/AUD
                                                AUD/BHD
                                                                AUD/TRY     AUD/PHP
                                                AUD/JOD
                                                                TRY/AUD     AUD/LKR
                                                AUD/OMR
                                                                AUD/RON     AUD/NPR
                                                AUD/QAR
                                                                AUD/BYN
                                                AUD/LBP
                                                                            South America
                                                                AUD/UAH
                                                                            AUD/ARS

                                                                Africa      ARS/AUD

                                                                AUD/ZAR     AUD/BRL

                                                                ZAR/AUD     BRL/AUD

                                                                AUD/MAD     AUD/CLP

                                                                AUD/XAF     AUD/VES

                                                                AUD/NAD     VES/AUD

                                                                AUD/KES
                                                                            Central America
                                                                AUD/EGP
                                                                            AUD/PAB
                                                                AUD/XOF

                                                                AUD/BWP


                                                                Carribean
                                                                                                                                                              Ether Futures Futures Overview (55)
                                                                AUD/XCD


3 of 4                                                                                                                                                                                                          4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                 https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                          Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 13 of 78

                                                AUD/BBD

                                                AUD/JMD




                                                                                                                                            Ether Futures Futures Overview (55)



4 of 4                                                                                                                                                                                        4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                                                                    https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                                                                  Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 14 of 78


         Ether Futures - Apr 24
         (ETH)
                 CME                                                                                                                                                                                                   Add to Watchlist          Create Alert

                                                                                                                                                                                                                           Type:               Financial Future
                 3,333.00 +30.50 (+0.92%)                                                                                                                                                                                  Market:             United States
                                                                                                                                                                                                                           Month:              Apr 24
                       16:59:30 - Delayed Data. Currency in USD ( Disclaimer )



         Prev. Close: 3,302.50        Open: 3,291.00      Day's Range: 3,219.00 - 3,395.50




         General         Chart      Technical

         Overview        Historical Data


         Ether Futures Historical Data
         Time Frame:
         Daily                                                                                                                                                                                             Download Data        10/01/2022 - 10/21/2022


          Date                                                                                Price                        Open                High                     Low                    Vol.                                            Change %
          Oct 21, 2022                                                                       1,301.00                      1,281.50          1,306.00                 1,250.50                  6.09K                                                 1.48%
          Oct 20, 2022                                                                       1,282.00                      1,290.00          1,310.50                 1,267.50                  5.47K                                                -1.00%
          Oct 19, 2022                                                                       1,295.00                      1,308.50          1,313.00                 1,284.00                  4.02K                                                -0.19%
          Oct 18, 2022                                                                       1,297.50                      1,334.50          1,341.00                 1,283.00                  5.27K                                                -1.96%
          Oct 17, 2022                                                                       1,323.50                      1,287.50          1,336.00                 1,287.50                  3.84K                                                 1.96%
          Oct 15, 2022                                                                       1,298.00                      1,298.00          1,298.00                 1,298.00                        -                                               0.19%
          Oct 14, 2022                                                                       1,295.50                      1,292.50          1,344.50                 1,279.00                  7.08K                                                 1.01%
          Oct 13, 2022                                                                       1,282.50                      1,293.50          1,299.00                 1,179.50                  9.23K                                                -0.89%
          Oct 12, 2022                                                                       1,294.00                      1,272.00          1,304.50                 1,269.00                  3.41K                                                 1.29%
          Oct 11, 2022                                                                       1,277.50                      1,301.00          1,301.00                 1,260.50                  4.51K                                                -1.88%
          Oct 10, 2022                                                                       1,302.00                      1,314.00          1,334.50                 1,289.00                  3.79K                                                -1.88%
          Oct 08, 2022                                                                       1,327.00                      1,327.00          1,327.00                 1,327.00                        -                                               0.19%
          Oct 07, 2022                                                                       1,324.50                      1,345.50          1,359.50                 1,302.50                  4.50K                                                -2.39%
          Oct 06, 2022                                                                       1,357.00                      1,346.00          1,384.50                 1,345.00                  4.54K                                                 0.78%
          Oct 05, 2022                                                                       1,346.50                      1,356.50          1,366.00                 1,311.50                  3.80K                                                -0.48%
          Oct 04, 2022                                                                       1,353.00                      1,317.00          1,380.00                 1,310.50                  4.24K                                                 3.13%
          Oct 03, 2022                                                                       1,312.00                      1,285.00          1,325.50                 1,253.50                  5.55K                                                -0.94%
          Oct 01, 2022                                                                       1,324.50                      1,324.50          1,324.50                 1,324.50                        -                                              -1.55%
          Highest: 1,384.50                                                                             Lowest: 1,179.50                Difference: 205.00                         Average: 1,310.72                                       Change %: -3.30



         My Sentiments
                                                                                                                                                                                                                                 Vote to see community's
         What is your sentiment on Ether Futures?                      or                                                                                                                                                        results!

                                                                                                                                                                                               Ether Futures Futures Overview (55)



1 of 4                                                                                                                                                                                                                                              4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                                          https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                                                   Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 15 of 78

         Currency Explorer

           Majors      Asia/Pacific     Americas   Africa   Middle East   Europe




                                                                                                                                                                     Ether Futures Futures Overview (55)



2 of 4                                                                                                                                                                                                                 4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                                   https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                                            Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 16 of 78

             Australian Dollar                  North America   Europe      Asia

             British Pound                      AUD/USD         AUD/CHF     AUD/JPY

             Canadian Dollar                    USD/AUD         CHF/AUD     JPY/AUD

             Euro                               AUD/CAD         AUD/PLN     AUD/SGD

             Japanese Yen                       CAD/AUD         PLN/AUD     SGD/AUD

             New Zealand Dollar                 AUD/MXN         AUD/NOK     AUD/THB

             Swiss Franc                        MXN/AUD         NOK/AUD     THB/AUD

                                                                AUD/SEK     AUD/HKD
             US Dollar
                                                Pacific
                                                                SEK/AUD     HKD/AUD
                                                AUD/NZD
                                                                AUD/CZK     AUD/CNY
                                                NZD/AUD
                                                                AUD/DKK     CNY/AUD
                                                AUD/FJD
                                                                DKK/AUD     AUD/IDR

                                                                AUD/EUR     IDR/AUD
                                                Middle East
                                                                EUR/AUD     AUD/INR
                                                AUD/ILS
                                                                AUD/GBP     AUD/KRW
                                                ILS/AUD
                                                                GBP/AUD     KRW/AUD
                                                AUD/AED
                                                                AUD/HUF     AUD/MYR
                                                AED/AUD
                                                                AUD/ISK     AUD/PKR
                                                AUD/SAR
                                                                AUD/RUB     AUD/TWD
                                                SAR/AUD
                                                                RUB/AUD     TWD/AUD
                                                AUD/BHD
                                                                AUD/TRY     AUD/PHP
                                                AUD/JOD
                                                                TRY/AUD     AUD/LKR
                                                AUD/OMR
                                                                AUD/RON     AUD/NPR
                                                AUD/QAR
                                                                AUD/BYN
                                                AUD/LBP
                                                                            South America
                                                                AUD/UAH
                                                                            AUD/ARS

                                                                Africa      ARS/AUD

                                                                AUD/ZAR     AUD/BRL

                                                                ZAR/AUD     BRL/AUD

                                                                AUD/MAD     AUD/CLP

                                                                AUD/XAF     AUD/VES

                                                                AUD/NAD     VES/AUD

                                                                AUD/KES
                                                                            Central America
                                                                AUD/EGP
                                                                            AUD/PAB
                                                                AUD/XOF

                                                                AUD/BWP


                                                                Carribean
                                                                                                                                                              Ether Futures Futures Overview (55)
                                                                AUD/XCD


3 of 4                                                                                                                                                                                                          4/3/2024, 5:26 PM
Ether Futures Historical Data - Investing.com                                                                                 https://www.investing.com/crypto/ethereum/ether-futures-historical-data?cid=1178668
                                                          Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 17 of 78

                                                AUD/BBD

                                                AUD/JMD




                                                                                                                                            Ether Futures Futures Overview (55)



4 of 4                                                                                                                                                                                        4/3/2024, 5:26 PM
EQONEX trade volume and market listings | CoinMarketCap                                                                                                                       https://web.archive.org/web/20220602161006/https://coinmarketcap.com/exchanges/eqonex/?type=futures
                                                                                           Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 18 of 78

         The Wayback Machine - https://web.archive.org/web/20220602161006/https://coinmarketcap.com/exchanges/eqonex/
                  Cryptos: 19,707    Exchanges: 525   Market Cap: $1,246,315,377,588   24h Vol: $90,123,680,593   Dominance: BTC� 46.2% ETH� 17.6%   l ETH Gas: 98 Gwei O                                                       English H           USD H y



                                                   Cryptocurrencies          Exchanges         NFT        Gravity       Portfolio      Watchlist       Products       Learn                              Log In       Sign up          Search               /




                                                                                                 Status


                                                                                                 Volume data is untracked
                            EQONEX                                                               This project is featured as an 'Untracked Listing'

                                                                                                 For more details on the listing tiers, please refer to Listings Review Criteria Section B � �3�



                        https://web.archive.org/web/20220602161006/                              About EQONEX
                        https://eqonex.com
                                                                                                 Launched on May 26th, 2020, EQONEX is a centralized crypto exchange based in Singapore. The parent company, Diginex, is the first
                        Fees
                                                                                                 company listed on Nasdaq with a crypto exchange �Nasdaq: EQOS�.
                        Chat
                                                                                                 EQONEX operates out of Singapore under a temporary exemption from the Monetary Authority of Singapore pending its application for a
                        @eqonex
                                                                                                 license under the Money Services Act.
                          Exchange
                                                                                                 EQONEX's first native token EQO, went live on April 8th, 2021. Holders of EQO receive numerous unique benefits, including reduced trading
                                                                                                 fees, access to future airdrops, staking rewards, collateral against derivatives transactions, and enhanced interest for crypto lending.

                                                                                                 Read More




                  Markets             Spot    Perpetual    Futures                                                                                                                                                                           Pair    USDC




                    #K           Currency                                  Pair                                                Price                      Volume                 Volume %                      Liquidity p                           Updated


                    1                   Bitcoin                            BTC/USDC                                     $30,214.91                   $3,994,694                  100.00%                               640                  19 hours ago


                    2                   Ethereum                           ETH/USDC                                       $1,816.81                  $1,669,043                  100.00%                               613                  19 hours ago


                    3                   Chiliz                             CHZ/USDC                                          $0.126                       $1,128                 100.00%                               325                  19 hours ago


                    4                   Tether                             USDT/USDC                                       $0.9992                      $22,395                  100.00%                               354                  19 hours ago


                    5                   EQO                                EQO/USDC                                          $0.115                       $1,622                 100.00%                               227                  19 hours ago


                    6                   Bitcoin Cash                       BCH/USDC                                         $187.15                     $20,785                  100.00%                               504                  19 hours ago




1 of 2                                                                                                                                                                                                                                                          4/3/2024, 3:43 PM
EQONEX trade volume and market listings | CoinMarketCap                                                                                  https://web.archive.org/web/20220602161006/https://coinmarketcap.com/exchanges/eqonex/?type=futures
                                                                       Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 19 of 78

                    #K           Currency                 Pair                                  Price                    Volume              Volume %                     Liquidity p                         Updated


                    7                  The Graph          GRT/USDC                           $0.1486                     $5.86               100.00%                               112                 19 hours ago


                    8                  Polkadot           DOT/USDC                             $9.60                     $0.95               100.00%                              182                  19 hours ago


                    9                  XRP                XRP/USDC                           $0.4001                     $29.13              100.00%                              343                  19 hours ago


                    10                 Stellar            XLM/USDC                             $0.14                 $107.81                 100.00%                              313                  19 hours ago


                    11                 Polygon            MATIC/USDC                         $0.6084                      $0.01              100.00%                              374                  19 hours ago


                    12                 Chainlink          LINK/USDC                            $7.02                     $21.74              100.00%                              376                  19 hours ago




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                                                                                                        Crypto API                Terms of use                  Contact Support                 Twitter

                                                                                                        Crypto Indices            Privacy Policy                FAQ                             Telegram

                                                                                                        Jobs Board                Community Rules               Glossary                        Instagram

                                                                                                        Sitemap                   Disclaimer                                                    Interactive Chat

                                                                                                                                  Methodology

                                                                                                                                  Careers    We’re hiring!




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2 of 2                                                                                                                                                                                                                    4/3/2024, 3:43 PM
Cryptos: Eqonex launch bitcoin dated futures | Structured Retail Products                                            https://www.structuredretailproducts.com/news/details/77965
                                                        Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 20 of 78




                Cryptos: Eqonex launch
                bitcoin dated futures
                International | Industry
                 24 Feb 2022 by SRP News



            The Nasdaq-listed digital assets �nancial services company has launched a
            new type of Bitcoin (BTC) investment product, a BTC dated futures contract
            with a physical settlement.


            The Eqonex BTC Dated Futures are denominated in the USD Coin stablecoin (USDC) and
            are linear in that the price of the futures increases as the price of BTC increases against
            USDC. The expiry of the dated future will occur at 08:00 UTC on the �nal Friday of the expiry
            month. Users can trade Eqonex BTC Dated Futures on a margin up to 125x leverage.
            Physical settlement    occursreading
                              Continue     automatically  on the
                                                    and get      expiry date,
                                                             unlimited  accessremoving some hedging risks
                                                                                 for 7 days
            compared to cash-settled contracts. The launch of Eq
                                                         with a free trial of SRP.


                                                                Get a free trial


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1 of 1                                                                                                                                                       4/3/2024, 5:34 PM
Bybit to offer futures contracts settled in the USDC stablecoin | The Block                                                                                                            https://www.theblock.co/post/154323/bybit-to-offer-futures-contracts-settled-in-the-usdc-stablecoin
                                                                                                Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 21 of 78

                                                                                                     The lock announce mergence: join u in Prague Decemer 5-6, 2024. Learn More                                                                                         ✕



                                                                   Connect                                                                                                                                                               Tr it free
                                           Premium New


                                                                                  New        Data         Report       Price      Indice       Podcat       vent       Learn       Newletter

                                                                  LIVE        TCUD $��,���.�� �.��%                THUD $�,���.�� �.��%                       LTCUD $��.�� -�.��%                   OLUD $���.�� �.��%               UD




1 of 5                                                                                                                                                                                                                                                                 4/3/2024, 5:35 PM
Bybit to offer futures contracts settled in the USDC stablecoin | The Block                                                                            https://www.theblock.co/post/154323/bybit-to-offer-futures-contracts-settled-in-the-usdc-stablecoin
                                                                               Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 22 of 78




                                                                              it to o�er future                                                                 GM30

                                                                                                                                                                 ���.��
                                                                                                                                                                                                     DTAIL




                                                                              contract ettled in the UDC                                                       -�.���%


                                                                              talecoin
                                                                               Adam Morgan McCarth
                                                                                                                                                                                         CRYPTO INDIC ➞
                                                                              XCHANG • June 27, 2022, 9:03AM DT




                                                                                                                                                                 Get unlimited acce to The lock’
                                                                                                                                                                 mot premium content.

                                                                                                                                                                       We3 infratructure provider
                                                                                                                                                                       Ankr unveil Neura lockchain
                                                                                                                                                                       for AI tartup
                                                                                                                                                                       03/26/24 12:00PM DT INFRATRUCTUR



                                                                                                                                                                                         MOR IN ACC ➞




                                                                                  hare                                                        The lock



                                                                              QUICK TAK

                                                                                • it announce plan to ettle option contract in the
                                                                                   talecoin UDC.                                                              PONORD

                                                                                • The exchange i one of the larget when it come to future                    oom or ut? Tokenized RWA in
                                                                                                                                                                 the Face of aing Interet Rate
                                                                                   trading.                                                                      April 1, 2024, 9:01AM DT




                                                                              Crpto exchange it announced on Monda that it will offer
                                                                              future contract ettled in the talecoin UD Coin (UDC),
                                                                              rather than itcoin.

                                                                              Thi i the firt time it will offer future ettled in UDC rather
                                                                              than itcoin, in an effort to give uer tale price for the
                                                                              duration of the contract, according to a tatement. The total
                                                                              numer of itcoin future contract held  uer on it platform

2 of 5                                                                                                                                                                                                                                 4/3/2024, 5:35 PM
Bybit to offer futures contracts settled in the USDC stablecoin | The Block                                                                                                           https://www.theblock.co/post/154323/bybit-to-offer-futures-contracts-settled-in-the-usdc-stablecoin
                                                                              Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 23 of 78
                                                                              numer of itcoin future contract held  uer on it platform
                                                                              — itcoin future open interet — i one of the larget of an
                                                                              exchange.


                                                                                                 Share of Open Interest across Bitcoin Futures


                                                                                                Binance        Bitget      ByBit      OKX       Deribit     9 Others

                                                                                100%




                                                                                 75%




                                                                                 50%




                                                                                 25%




                                                                                  0%
                                                                                    Apr '23               Jul '23                  Oct '23                Jan '24           Apr '24

                                                                                                                                        ZOOM      ALL     YTD    12M   3M     1M

                                                                                                                Chart embedded from The Block Data.




                                                                              CO and co-founder, en Zhou, aid in the tatement that it
                                                                              wa ver pleaed with how the roll-out of it option trading
                                                                              product went. He went on to a “our derivative platform ha the
                                                                              world’ et liquidit and tightet pread, o trader are enured
                                                                              the et quote and et execution in the market even during
                                                                              extreme volatilit.”

                                                                              it' announcement noted that unlike itcoin-ettled contract,
                                                                              uing UDC allow for tailit for the duration of each contract.
                                                                              The move come at a time when talecoin have come under
                                                                              renewed crutin from regulator and invetor, with everal high
                                                                              profile tale de-pegging over the pat month.

                                                                              RLATD INDIC

                                                                                 GM30         DTAIL               GMMM           DTAIL              GML1          DTAIL

                                                                               ���.��                               ���.��                                ���.��
                                                                                -�.���%                             -�.��%                                �.��%




3 of 5                                                                                                                                                                                                                                                                4/3/2024, 5:35 PM
Bybit to offer futures contracts settled in the USDC stablecoin | The Block                                                                                                                                   https://www.theblock.co/post/154323/bybit-to-offer-futures-contracts-settled-in-the-usdc-stablecoin
                                                                               Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 24 of 78


                                                                                                                                                                     CRYPTO INDIC ➞



                                                                              Monda’ announcement come jut five da after it wa
                                                                              fined  the Ontario ecuritie Commiion (OC), although the
                                                                              exchange committed to working with the regulator a part of the
                                                                              ettlement.

                                                                              Founded in ingapore in 2018, it ha grown to e the econd-
                                                                              larget crpto exchange in future trading over the pat four ear
                                                                              to, according to data via The lock Reearch.


                                                                                                                       Volume of Bitcoin Futures




                                                                                                                                              Apr 2023




                                                                                                                                                                 Jun 2023




                                                                                                                                                                                        Aug 2023




                                                                                                                                                                                                   Oct 2023
                                                                                                        Binance       Bitget      OKX       FTX          ByBit              10 Others

                                                                                 $3t




                                                                                 $2t




                                                                                  $1t




                                                                                  $0




                                                                                                                                              ZOOM        ALL          YTD       12M

                                                                                                                      Chart embedded from The Block Data.




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                                                                              or intended to e ued a legal, tax, invetment, financial, or other advice.




                                                                                   hare



                                                                                AOUT AUTHOR                    Adam Morgan i a reporter covering
                                                                                                                crptocurrenc, financial market, and economic –
                                                                                                                anthing from price movement, earning report,
                                                                                                                and inflation to the U.. Federal Reerve interet

4 of 5                                                                                                                                                                                                                                                                                        4/3/2024, 5:35 PM
Bybit to offer futures contracts settled in the USDC stablecoin | The Block                                                                                                       https://www.theblock.co/post/154323/bybit-to-offer-futures-contracts-settled-in-the-usdc-stablecoin
                                                                                            Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 25 of 78
                                                                                                                and inflation to the U.. Federal Reerve interet
                                                                                                                  rate deciion and everthing in etween. Adam i
                                                                                                                  aed in London.


                                                                                            MOR Y ADAM
                                                                                            MORGAN
                                                                                            MCCARTHY




                                                                                                                  itcoin pop a U inflation       Goldman ach, Mood'
                                                                                                                  come in elow etimate           and more join Digital
                                                                                                                  Ma 10, 2023, 9:29AM DT
                                                                                                                                                     Aet' lockchain network
                                                                                                                  MARKT
                                                                                                                                                     Ma 9, 2023, 9:48AM DT
                                                                                                                                                     COMPANI




                                                                              CONTNT                             MULTIMDIA                                  CONNCT                                COMPANY

                                                                              New                                vent                                      Len                                   Aout U
                                                                              Indice                             Report                                     Google New                            ditorial Team
                                                                              Learn                               Podcat                                    Twitter                                Advertie
                                                                              PRO                                                                             LinkedIn                               Career
                                                                              Price                                                                          Intagram                              Conflict of interet
                                                                              Newletter                                                                     Telegram                               Dicloure
                                                                              Data                                                                            Faceook                               Pre
                                                                              itcoin Halving                                                                 potif                                itemap
                                                                              Gloar


                                                                                                                © 2 024 TH   LOCK . ALL R IG H T R  R V D.
                                                                                                           PR IVACY POLICY • TR M OF R V IC • CU R IT Y
                                                                                                           D O NOT LL OR H AR  MY PR ONAL INF OR MATION




5 of 5                                                                                                                                                                                                                                                            4/3/2024, 5:35 PM
Bybit (Futures) Statistics: Markets, Trading Volume & Trust Score | CoinGecko                                                                                                                                                 https://www.coingecko.com/en/exchanges/bybit#futures
                                                                                               Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 26 of 78
         ___
                             � Now LIVE� RWA Report 2024                                                                                                                                                                                               


                             Coins: 13,669   Exchanges: 1,040     Market Cap: $2.597T  0.1%    24h Vol: $115.192B   Dominance: BTC 49.9% ETH 15.3%     Gas: 31 GWEI                                                            Login       Sign Up




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                                                             Cryptocurrencies         Exchanges          NFT         Learn       Products                                                Candy     Portfolio




                             Cryptocurrencies             Derivative Exchanges          Bybit �Futures)



                                      Bybit           Centralized Exchange                                                                                              Spot     Perpetuals                     Start Trading     Affiliate disclosures




                                $19,630,857,002                                                            $11,158,834,098                                                       421
                                24h Trading Volume  36.9%                                                 24h Open Interest                                                     Pairs



                                Markets         About        Statistics         Proof of Reserves 


                             Futures Markets                                                                                                                                                                                               USDC 


                               Symbol                                                     Price             24h              Index Price       Basis     Spread            Expires in         Open Interest        24h Volume             Last Updated


                                     BTC�28JUN24                                     $68,566.03          0.1%        65836.51 USDC         -3.989%      0.06%            3 months                       -         $1,891,595               Recently


                                     BTC�27SEP24                                     $71,470.80          0.1%        65836.52 USDC         -7.891%      0.11%            6 months                       -         $1,563,991               Recently


                                     BTC�12APR24                                     $66,103.73          0.1%        65836.52 USDC         -0.412%      0.09%                 8 days                    -         $1,338,518               Recently


                                     BTC�31MAY24                                     $67,655.60          0.1%        65836.45 USDC         -2.697%      0.06%      about 2 months                       -         $1,322,549               Recently


                                     ETH�27SEP24                                      $3,591.16          1.1%         3304.01 USDC         -8.003%      0.01%            6 months                       -           $556,102               Recently


                                     BTC�05APR24                                     $65,894.75          0.4%        65836.45 USDC         -0.096%      0.05%                  1 day                    -           $397,017               Recently


                                     BTC�26APR24                                     $66,515.20          0.2%        65836.52 USDC         -1.028%      0.02%             22 days                       -           $310,098               Recently


                                     BTC�19APR24                                     $66,274.72          0.0%        65836.45 USDC         -0.669%      0.06%             15 days                       -           $309,819               Recently


                                     ETH�26APR24                                      $3,347.33          1.1%         3304.01 USDC         -1.302%      0.05%             22 days                       -           $271,365               Recently


                                     ETH�12APR24                                      $3,317.89          1.0%         3304.01 USDC         -0.426%      0.02%                 8 days                    -           $258,866               Recently
                                                                                                                                                                                                                                                                 




1 of 6                                                                                                                                                                                                                                                          4/3/2024, 5:40 PM
Bybit (Futures) Statistics: Markets, Trading Volume & Trust Score | CoinGecko                                                                                                            https://www.coingecko.com/en/exchanges/bybit#futures
                                                                                       Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 27 of 78

                               Symbol                                               Price       24h        Index Price      Basis   Spread         Expires in   Open Interest   24h Volume       Last Updated


                                     ETH�05APR24                                $3,306.29     1.2%    3304.01 USDC      -0.077%    0.03%             1 day                -     $175,398           Recently


                                     ETH�31MAY24                                $3,408.58     1.0%    3304.01 USDC      -3.076%    0.03%    about 2 months                -     $160,195           Recently


                                     ETH�19APR24                                $3,335.98     0.9%    3304.01 USDC      -0.966%    0.03%           15 days                -     $157,510           Recently


                                     ETH�28JUN24                                $3,455.82     1.0%    3304.01 USDC      -4.401%    0.08%         3 months                 -    $94,557.38          Recently




                                                                                                                                                                                                                            




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Bybit (Futures) Statistics: Markets, Trading Volume & Trust Score | CoinGecko                                                                                                       https://www.coingecko.com/en/exchanges/bybit#futures
                                                                                             Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 28 of 78


                                What is Bybit �Futures)?                                                                                Fees
                                Bybit �Futures) is a derivative cryptocurrency exchange established in 2018. Currently,
                                there are 421 trading pairs available on the exchange. Bybit �Futures) 24h trading volume               Fees                     Taker Fee: 0.075% Maker Fee: -0.025%
                                is reported to be at $19,633,847,377.86, a change of -36.87277300561439% in the last 24
                                hours, and the 24h open interest is $11,160,533,927.53, a change of -2.68% as compared
                                                                                                                                        Withdrawal               BTC 0.0005 ETH 0.01 XRP 0.25 EOS 0.1
                                to the previous day. Exchange Reserves data is currently unavailable for Bybit �Futures).
                                The most active trading pair is BTC/USDT with a 24h volume of $7,777,894,488.56.
                                                                                                                                        Margin Trading                                              Yes
                                Bybit is a cryptocurrency exchange that offers a professional platform featuring an ultra-
                                fast matching engine, excellent customer service and multilingual community support for                 Market With Fees                                            Yes
                                crypto traders of all levels. Established in March 2018, Bybit currently serves more than
                                10 million users and institutions offering access to over 100 assets and contracts across
                                Spot, Futures and Options, launchpad projects, earn products, an NFT Marketplace and
                                more. Bybit is a proud partner of Formula One racing team, Oracle Red Bull Racing,
                                esports teams NAVI, Astralis, Alliance, Virtus.pro, Made in Brazil �MIBR�, City Esports,
                                and Oracle Red Bull Racing Esports, and association football (soccer) teams Borussia
                                Dortmund and Avispa Fukuoka.



                                Website                                                                                 bybit.com



                                                                Facebook        Twitter    Medium      Reddit      Telegram
                                Community
                                                                                              blog.bybit.com     instagram.com



                                Email                                                                           support@bybit.com



                                Address                                                                                             -


                                Year Established                                                                              2018


                                Recent Monthly Pageviews                                                               5,699,000.0


                                Alexa Rank                                                                                  #1034


                                Community Data                                                       Twitter Followers: 3,170,880




                                                                                                                                                                                                                       




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                                                                                          Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 29 of 78


                                Volume by Market Pair                                                                           Volume by Currency


                                                                                         BTCUSDT           39.70%
                                                                                         ETHUSDT           13.75%
                                                                                         SOLUSDT            7.35%
                                                                                                                                                                         USDT                   92.01%
                                                                                         DOGEUSDT           4.19%
                                                                                                                                                                         USD                     4.45%
                                                                                         BTCUSD             3.16%
                                                                                                                                                                         USDC                    0.30%
                                                                                         1000PEPEUSDT       1.71%
                                                                                         BCHUSDT            1.42%
                                                                                         Others           View All




                                Exchange Open Interest                                                                                                                   7d      14d   1m      3m      1y      




                                                                                                                                                                                                            $11.7B



                                                                                                                                                                                                            $11.6B



                                                                                                                                                                                                            $11.5B



                                                                                                                                                                                                            $11.4B



                                                                                                                                                                                                            $11.3B



                                                                                                                                                                                                            $11.2B



                                                                                                                                                                                                            $11.1B



                                                                                                                                                                                                            $11B
                                  18:00             20:00             22:00     3. Apr            02:00      04:00      06:00       08:00       10:00         12:00      14:00         16:00




                                                       20:00                       3. Apr                       04:00                  08:00                     12:00                      16:00




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                                                                                         Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 30 of 78


                                Exchange Trade Volume                                                                                                                        7d      14d   1m      3m      1y      




                                                                                                                                                                                                                $35B



                                                                                                                                                                                                                $32.5B



                                                                                                                                                                                                                $30B



                                                                                                                                                                                                                $27.5B



                                                                                                                                                                                                                $25B



                                                                                                                                                                                                                $22.5B



                                                                                                                                                                                                                $20B



                                                                                                                                                                                                                $17.5B
                                  18:00             20:00             22:00     3. Apr        02:00       04:00       06:00          08:00         10:00      12:00          14:00         16:00




                                                       20:00                        3. Apr                   04:00                      08:00                    12:00                          16:00




                                Liquidity                                                                                     Scale

                                Reported Trading Volume                         -                                             Normalized Volume Percentile               -


                                Normalized Trading Volume                       -                                             Combined Orderbook Percentile              -


                                Reported-Normalized Volume Ratio                -


                                Average Bid-Ask Spread                          0.049%


                                Trading Pair Total Trust Score




                                                                                                                                                                                                                                      




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Bybit (Futures) Statistics: Markets, Trading Volume & Trust Score | CoinGecko                                                                                                                               https://www.coingecko.com/en/exchanges/bybit#futures
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                             chain metrics.
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                                                                                              Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 32 of 78
         ___
                            � Now LIVE� RWA Report 2024                                                                                                                                                                                               


                            Coins: 13,669   Exchanges: 1,040     Market Cap: $2.597T  0.1%     24h Vol: $115.18B    Dominance: BTC 49.9% ETH 15.3%     Gas: 31 GWEI                                                           Login       Sign Up




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                            Cryptocurrencies            Derivative Exchanges            OKX �Futures)



                                     OKX           Centralized Exchange                                                                                                 Spot     Perpetuals                    Start Trading     Affiliate disclosures




                               $25,807,978,306                                                             $6,303,068,764                                                        480
                               24h Trading Volume  36.0%                                                  24h Open Interest                                                     Pairs



                               Markets         About        Statistics        Proof of Reserves            Exchange Token 


                            Futures Markets                                                                                                                                                                                               USDC 


                              Symbol                                                          Price            24h           Index Price       Basis         Spread       Expires in        Open Interest        24h Volume              Last Updated


                                    BTC�USDC�240628                                  $68,823.29            0.2%        65812.6 USDC        -4.438%          0.13%       3 months                      -           $326,759                Recently


                                    ETH�USDC�240405                                     $3,304.11          0.7%        3301.63 USDC        -0.142%          0.28%             1 day                   -         $34,290.06                Recently


                                    BTC�USDC�240405                                  $66,532.51            1.2%        65812.8 USDC        -1.148%          0.25%             1 day                   -         $21,722.86                Recently


                                    BTC�USDC�240412                                  $66,815.22            1.6%        65812.8 USDC        -1.566%          0.26%         8 days                      -         $14,138.10                Recently


                                    ETH�USDC�240628                                     $3,449.39          0.4%        3301.63 USDC        -4.347%          0.74%       3 months                      -         $11,710.69                Recently


                                    BTC�USDC�240927                                  $73,163.70            0.5%        65812.8 USDC       -10.107%          0.21%       6 months                      -          $8,296.76                Recently


                                    ETH�USDC�240412                                     $3,355.74          2.4%        3301.63 USDC        -1.678%          0.33%         8 days                      -          $5,047.03                Recently


                                    ETH�USDC�240927                                     $3,613.65          0.6%        3301.63 USDC        -8.695%          0.47%       6 months                      -          $1,261.17                Recently




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OKX (Futures) Statistics: Markets, Trading Volume & Trust Score | CoinGecko                                                                                           https://www.coingecko.com/en/exchanges/okx_swap#futures
                                                                                           Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 33 of 78


                               What is OKX �Futures)?                                                                                   Fees
                               OKX �Futures) is a derivative cryptocurrency exchange established in -. Currently, there
                               are 480 trading pairs available on the exchange. OKX �Futures) 24h trading volume is                     Margin Trading                                     No
                               reported to be at $25,809,073,153.17, a change of -35.96215720107495% in the last 24
                               hours, and the 24h open interest is $6,303,336,157.65, a change of -2.47% as compared to
                                                                                                                                        Market With Fees                                   No
                               the previous day. Exchange Reserves data is currently unavailable for OKX �Futures). The
                               most active trading pair is BTC/USDT with a 24h volume of $8,079,258,278.06.



                               Website                                                                                    okx.com



                               Community                  Facebook        Twitter    Reddit     Telegram      linkedin.com



                               Address                                                                                              -


                               Recent Monthly Pageviews                                                              1,023,000.0


                               Alexa Rank                                                                                   #2386


                               Community Data                                                      Twitter Followers: 4,042,801




                               Volume by Market Pair                                                                                    Volume by Currency


                                                                                         BTC�USDT�SWAP          31.37%
                                                                                         ETH�USDT�SWAP          26.35%
                                                                                         BTC�USD�SWAP            5.50%
                                                                                                                                                               USDT        88.63%
                                                                                         DOGE�USDT�...           4.91%
                                                                                                                                                               USD         12.42%
                                                                                         SOL�USDT�SWAP           4.34%
                                                                                                                                                               USDC         0.64%
                                                                                         CORE�USDT�...           3.74%
                                                                                         ETH�USD�SWAP            2.78%
                                                                                         Others                View All




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                               Exchange Open Interest                                                                                                                 7d      14d   1m      3m   1y      




                                                                                                                                                                                                      $6.6B



                                                                                                                                                                                                      $6.55B



                                                                                                                                                                                                      $6.5B



                                                                                                                                                                                                      $6.45B



                                                                                                                                                                                                      $6.4B



                                                                                                                                                                                                      $6.35B



                                                                                                                                                                                                      $6.3B



                                                                                                                                                                                                      $6.25B
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                               Exchange Trade Volume                                                                                                                        7d      14d   1m    3m     1y      




                                                                                                                                                                                                             $45B




                                                                                                                                                                                                             $40B




                                                                                                                                                                                                             $35B




                                                                                                                                                                                                             $30B




                                                                                                                                                                                                             $25B




                                                                                                                                                                                                             $20B
                                 18:00             20:00             22:00    3. Apr         02:00       04:00       06:00           08:00        10:00      12:00          14:00          16:00




                                                      20:00                       3. Apr                    04:00                       08:00                   12:00                          16:00




                               Liquidity                                                                                     Scale

                               Reported Trading Volume                        -                                              Normalized Volume Percentile               -


                               Normalized Trading Volume                      -                                              Combined Orderbook Percentile              -


                               Reported-Normalized Volume Ratio               -


                               Average Bid-Ask Spread                         0.054%


                               Trading Pair Total Trust Score




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          Open    App
          Coins: 13413
          
          Exchanges: 525
          Market Cap: $983,691,897,140 -0.8%
          24h Vol: $82,938,465,006
          Dominance:
          BTC 41.3%
          Continue
          ETH 14.6% in app
          Gas: 22prices
          Track     GWEI in real-time
          EN
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              • USD
                US Dollar
              • IDR
                Indonesian Rupiah
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                Euro
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                South Korean Won
              • JPY
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              • RUB
                Russian Ruble
              • CNY
                Chinese Yuan

          Fiat Currencies

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                Bermudian Dollar
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                Swiss Franc
              • CLP
                Chilean Peso
              • CZK
                Czech Koruna
              • DKK
                Danish Krone
              • GBP
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               • TRY
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               • UAH
                 Ukrainian hryvnia
               • VEF
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               • VND
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                Bits
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                Euro
              • KRW
                South Korean Won
              • JPY
                Japanese Yen
              • RUB
                Russian Ruble
              • CNY
                Chinese Yuan

          Fiat Currencies

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              • ZAR
                South African Rand
              • XDR
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                Gold - Troy Ounce

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          Coins: 13413
          Exchanges: 525
          Market Cap: $983,691,897,140 -0.8%
          24h Vol: $82,938,465,006
          Dominance:
          BTC 41.3%
          ETH 14.6%
          Gas: 22 GWEI


          Top Cryptocurrency Derivatives (Futures Contract) by Open Interest & Trading Volume
          24h Vol: $88,253,240,451
          66 Derivative Exchanges
          Perpetuals Futures
           usdt


              Bitcoin (Futures)

          Total Open Interest $3,104,421,958
          Total 24h Trade Volume $2,354,639,195
                        Exchange                           Symbol               Price            24h      Index Price       Basis      Spread           Expires in      Open Interest           24h Volume           Last Traded
               BTCC Futures                       BTC-WEEKLY                $21,307.06       -1.1%        21322.96 USDT       +0.025%    0.01%         6 days               $813,891,656          $1,301,638,815.12       Recently

               BTCC Futures                       BTC-DAILY                 $21,307.09       -1.1%        21322.32 USDT       +0.021%    0.01%         18 hours             $107,092,314          $171,268,506.17         Recently

               OKX (Futures)                      BTC-USDT-220930           $21,407.64       -0.8%        21325.5 USDT        -0.436%    0.01%         3 months             $33,018,600           $69,748,657.46          Recently

               Binance (Futures)                  BTCUSDT_220930            $21,422.23       -0.7%        21316.34 USDT       -0.547%    0.03%         -                    $25,767,156           $37,118,878.98          Recently

               OKX (Futures)                      BTC-USDT-220715           $21,310.59       -0.6%        21324.7 USDT        +0.014%    0.01%         5 days               $14,682,400           $61,068,479.87          Recently

               OKX (Futures)                      BTC-USDT-221230           $21,547.97       -0.8%        21325.5 USDT        -1.084%    0.02%         6 months             $13,590,400           $32,374,309.65          Recently

               OKX (Futures)                      BTC-USDT-220722           $21,320.09       -0.6%        21325.5 USDT        -0.027%    0.01%         12 days              $11,205,000           $28,391,744.35          Recently

               Delta Exchange (Futures)           BTCUSDT_30SEP             $21,379.74       -0.8%        21413.5 USDT        0.000%     0.04%         -                    $512                  $506,592.98             Recently



              Ethereum (Futures)

          Total Open Interest $1,398,343,083
          Total 24h Trade Volume $1,308,683,377
                    Exchange                 Symbol            Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures                ETH-WEEKLY         $1,188.49 -2.1% 1189.09 USDT +0.001% 0.09%             6 days     $532,489,193     $655,437,375.08 Recently

               BTCC Futures                ETH-DAILY          $1,188.49 -2.1% 1189.2 USDT +0.010% 0.09%              18 hours $201,125,949       $247,564,581.30 Recently

               OKX (Futures)               ETH-USDT-220930 $1,192.06 -1.9% 1189.81 USDT -0.241% 0.01%                3 months $3,545,580         $45,466,115.52 Recently

               OKX (Futures)               ETH-USDT-221230 $1,196.41 -1.9% 1189.78 USDT -0.606% 0.03%                6 months $1,506,570         $17,650,168.01 Recently




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                    Exchange                   Symbol          Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               OKX (Futures)             ETH-USDT-220715 $1,188.49 -2.0% 1189.64 USDT +0.002% 0.03%                      5 days       $1,076,750        $19,751,949.58 Recently

               OKX (Futures)             ETH-USDT-220722 $1,190.40 -1.9% 1190.72 USDT -0.008% 0.05%                      12 days      $1,050,910        $11,253,096.60 Recently

               Binance (Futures)         ETHUSDT_220930 $1,192.44 -1.8% 1189.22 USDT -0.323% 0.03%                       -            $17,309           $24,885,075.92 Recently

               Delta Exchange (Futures) ETHUSDT_30SEP $1,191.54 -1.9% 1193 USDT                     0.000% 0.08%         -            $190              $378,837.89     Recently

               BitMEX (Derivative)       ETHUSDTU22           $1,219.16 -0.2% 1189.93 USDT -2.449% 0.34%                 3 months -                     $109.72         3 hours ago



               Tether (Futures)

           Total Open Interest $59,658,568
           Total 24h Trade Volume $502,532
                  Exchange          Symbol Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               FTX (Derivatives) USDT-0930 $0.99        0.0% 1 USD              +0.620% 0.02%          3 months $59,658,568            $502,531.70     2 hours ago



              BNB (Futures)

           Total Open Interest $16,630,368
           Total 24h Trade Volume $3,731,112
                     Exchange                Symbol          Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               Delta Exchange (Futures) BNBUSDT_30SEP $233.16 -2.2% 233.7 USDT                    -0.043% 0.13%      -             $1,491            $1,078,042.56 Recently


              XRP (Futures)

           Total Open Interest $64,403,791
           Total 24h Trade Volume $31,005,226
                Exchange             Symbol         Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures XRP-WEEKLY              $0.34    -0.8% 0.34 USDT         +0.009% 0.11%         6 days        $15,947,052         $7,306,093.67 Recently

               OKX (Futures) XRP-USDT-220930 $0.34           -0.7% 0.34 USDT         +0.902% 0.07%         3 months $88,109                  $4,055,033.38 Recently

               OKX (Futures) XRP-USDT-221230 $0.34           -0.6% 0.34 USDT         +0.564% 0.15%         6 months $42,222                  $2,108,347.10 Recently

               OKX (Futures) XRP-USDT-220715 $0.34           -0.7% 0.34 USDT         +0.071% 0.03%         5 days        $37,510             $2,355,553.57 Recently

               OKX (Futures) XRP-USDT-220722 $0.34           -0.7% 0.34 USDT         +0.160% 0.09%         12 days       $29,502             $1,604,275.70 Recently


              Cardano (Futures)

           Total Open Interest $85,954,696
           Total 24h Trade Volume $35,939,571
                Exchange             Symbol         Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures ADA-WEEKLY              $0.47    0.1% 0.47 USDT          -0.007% 0.12%         6 days        $17,034,943         $11,114,336.62 Recently

               OKX (Futures) ADA-USDT-220930 $0.47           0.3% 0.47 USDT          +0.661% 0.08%         3 months $11,486,622              $4,079,735.47 Recently

               OKX (Futures) ADA-USDT-221230 $0.47           0.4% 0.47 USDT          +0.276% 0.05%         6 months $6,193,362               $2,216,631.41 Recently

               OKX (Futures) ADA-USDT-220715 $0.47           0.1% 0.47 USDT          +0.106% 0.07%         5 days        $4,752,848          $2,198,649.57 Recently

               OKX (Futures) ADA-USDT-220722 $0.47           0.0% 0.47 USDT          +0.197% 0.07%         12 days       $3,087,291          $1,713,252.40 Recently




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              Solana (Futures)

           Total Open Interest $47,028,076
           Total 24h Trade Volume $41,725,621
                     Exchange               Symbol           Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures              SOL-WEEKLY          $37.34 -2.4% 37.39 USDT          +0.065% 0.11%         6 days      $41,074,210     $38,146,349.98 Recently

               Delta Exchange (Futures) SOLUSDT_30SEP $36.71 -2.3% 36.8 USDT                  +0.014% 0.07%         -           $149,865        $168,182.67       Recently



              Dogecoin (Futures)

           Total Open Interest $7,170,406
           Total 24h Trade Volume $3,083,979
                Exchange            Symbol   Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures DOGE-WEEKLY $0.07               -1.7% 0.07 USDT       0.000% 0.12%         6 days      $6,185,851        $2,890,340.88 Recently


              Polkadot (Futures)

           Total Open Interest $26,987,685
           Total 24h Trade Volume $21,087,155
                Exchange             Symbol         Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures DOT-WEEKLY              $7.07     -0.3% 7.07 USDT        -0.071% 0.18%        6 days        $7,037,671      $5,413,806.29 Recently

               OKX (Futures) DOT-USDT-220930 $6.94            0.3% 7.08 USDT         +1.973% 0.07%        3 months $3,350,944           $2,523,049.25 Recently

               OKX (Futures) DOT-USDT-221230 $6.83            -0.2% 7.08 USDT        +3.600% 0.06%        6 months $1,256,079           $1,106,422.54 Recently

               OKX (Futures) DOT-USDT-220715 $7.05            -0.1% 7.08 USDT        +0.327% 0.1%         5 days        $828,762        $1,209,703.10 Recently

               OKX (Futures) DOT-USDT-220722 $7.03            -0.1% 7.08 USDT        +0.553% 0.17%        12 days       $734,772        $634,325.02    Recently



              TRON (Futures)

           Total Open Interest $48,930,654
           Total 24h Trade Volume $23,195,020
                Exchange             Symbol         Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               OKX (Futures) TRX-USDT-220930 $0.07            -0.5% 0.07 USDT        +3.086% 0.03%        3 months $17,332,688          $4,377,569.53 Recently

               OKX (Futures) TRX-USDT-221230 $0.07            -0.9% 0.07 USDT        +4.142% 0.03%        6 months $7,532,543           $2,537,219.81 Recently

               OKX (Futures) TRX-USDT-220715 $0.07            -0.6% 0.07 USDT        +0.758% 0.03%        5 days        $7,023,539      $2,665,719.94 Recently

               OKX (Futures) TRX-USDT-220722 $0.07            -0.1% 0.07 USDT        +1.141% 0.04%        12 days       $4,182,849      $2,580,873.06 Recently


              Avalanche (Futures)

           Total Open Interest $12,885,217
           Total 24h Trade Volume $23,631,264
                Exchange            Symbol    Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures AVAX-WEEKLY $19.37 -1.6% 19.4 USDT                   +0.059% 0.14%         6 days      $10,216,226       $12,796,461.03 Recently


              Litecoin (Futures)



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           Total Open Interest $56,341,953
           Total 24h Trade Volume $45,684,740
                Exchange             Symbol        Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               OKX (Futures) LTC-USDT-220930 $53.60 3.6% 53.7 USDT                  +0.131% 0.02%         3 months $12,196,024             $4,740,329.18 Recently

               BTCC Futures LTC-WEEKLY             $53.61 3.5% 53.66 USDT           +0.037% 0.13%         6 days         $8,734,175        $6,969,857.51 Recently

               OKX (Futures) LTC-USDT-221230 $54.08 3.6% 53.7 USDT                  -0.758% 0.04%         6 months $8,051,198              $2,524,689.10 Recently

               OKX (Futures) LTC-USDT-220715 $53.55 3.7% 53.66 USDT                 +0.112% 0.04%         5 days         $5,790,690        $3,324,072.61 Recently

               OKX (Futures) LTC-USDT-220722 $53.63 3.6% 53.7 USDT                  +0.075% 0.04%         12 days        $2,703,036        $3,060,122.60 Recently


              Chainlink (Futures)

           Total Open Interest $7,492,857
           Total 24h Trade Volume $14,796,242
                Exchange              Symbol         Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures LINK-WEEKLY              $6.37    -0.2% 6.38 USDT         0.000% 0.17%             6 days     $4,508,219        $3,053,853.97 Recently

               OKX (Futures) LINK-USDT-220930 $6.34           -0.2% 6.38 USDT         +0.615% 0.17%            3 months $267,844            $1,896,862.20 Recently

               OKX (Futures) LINK-USDT-220715 $6.38           -0.0% 6.38 USDT         -0.016% 0.17%            5 days     $114,706          $798,126.49    Recently

               OKX (Futures) LINK-USDT-221230 $6.36           -0.3% 6.37 USDT         -0.016% 0.13%            6 months $114,317            $997,051.36    Recently

               OKX (Futures) LINK-USDT-220722 $6.37           -0.0% 6.38 USDT         +0.110% 0.19%            12 days    $105,316          $481,253.40    Recently



              Uniswap (Futures)

           Total Open Interest $2,556,874
           Total 24h Trade Volume $3,222,680
                Exchange           Symbol   Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures UNI-WEEKLY $6.17           2.5% 6.18 USDT          +0.016% 0.18%         6 days        $2,134,141         $3,099,190.53 Recently


               Stellar (Futures)

           Total Open Interest $2,011,486
           Total 24h Trade Volume $698,028
                Exchange           Symbol      Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures XLM-WEEKLY $0.11            -0.9% 0.11 USDT         -0.004% 0.17%         6 days       $2,011,486          $698,028.46   Recently



              Ethereum Classic (Futures)

           Total Open Interest $12,966,047
           Total 24h Trade Volume $21,120,212
                Exchange             Symbol        Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               OKX (Futures) ETC-USDT-220930 $15.53 -1.7% 15.53 USDT                 -0.084% 0.06%        3 months $3,128,459              $4,270,249.57 Recently

               OKX (Futures) ETC-USDT-221230 $15.52 -1.8% 15.53 USDT                 -0.013% 0.08%        6 months $1,563,073              $3,805,422.93 Recently

               OKX (Futures) ETC-USDT-220715 $15.53 -1.1% 15.53 USDT                 -0.090% 0.09%        5 days         $1,555,251        $3,705,211.92 Recently

               OKX (Futures) ETC-USDT-220722 $15.52 -1.7% 15.53 USDT                 +0.013% 0.15%        12 days        $711,064          $3,771,232.54 Recently




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                                                                                                  Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 49 of 78

               Bitcoin Cash (Futures)

           Total Open Interest $54,972,847
           Total 24h Trade Volume $20,877,326
                Exchange             Symbol         Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures BCH-WEEKLY              $108.54 -0.5% 108.59 USDT 0.000% 0.15%                6 days      $22,789,745     $8,765,091.01 Recently

               OKX (Futures) BCH-USDT-221230 $108.61 -0.1% 108.73 USDT +0.055% 0.12%                      6 months $5,223,533         $853,240.97      Recently

               OKX (Futures) BCH-USDT-220930 $106.76 0.0% 108.73 USDT +1.788% 0.04%                       3 months $5,130,323         $1,617,344.06 Recently

               OKX (Futures) BCH-USDT-220715 $108.29 -0.4% 108.73 USDT +0.351% 0.08%                      5 days      $1,270,303      $781,962.35      Recently

               OKX (Futures) BCH-USDT-220722 $108.26 -0.2% 108.73 USDT +0.379% 0.08%                      12 days     $1,265,251      $477,266.84      Recently



               Decentraland (Futures)

           Total Open Interest $1,840,313
           Total 24h Trade Volume $736,272
                Exchange            Symbol       Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures MANA-WEEKLY $0.88              -2.6% 0.88 USDT        +0.045% 0.15%        6 days       $1,840,313      $736,272.32     Recently



               Filecoin (Futures)

           Total Open Interest $6,627,995
           Total 24h Trade Volume $12,144,380
                Exchange             Symbol       Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures FIL-WEEKLY            $5.63     -1.8% 5.63 USDT         0.000% 0.2%         6 days       $4,347,137      $2,277,694.97 Recently

               OKX (Futures) FIL-USDT-220930 $5.61          -1.4% 5.63 USDT         +0.338% 0.11%       3 months $274,420            $1,998,028.82 Recently

               OKX (Futures) FIL-USDT-221230 $5.63          -1.4% 5.63 USDT         +0.018% 0.2%        6 months $140,332            $839,420.72     Recently

               OKX (Futures) FIL-USDT-220715 $5.62          -1.6% 5.63 USDT         +0.196% 0.07%       5 days       $75,161         $791,256.08     Recently

               OKX (Futures) FIL-USDT-220722 $5.62          -1.7% 5.63 USDT         +0.249% 0.21%       12 days      $64,020         $461,206.04     Recently



               Bitcoin SV (Futures)

           Total Open Interest $14,382,196
           Total 24h Trade Volume $2,585,427
                Exchange             Symbol        Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               OKX (Futures) BSV-USDT-220930 $55.39 -1.2% 55.76 USDT                 +0.613% 0.22%       3 months $11,571,046         $1,552,439.73 Recently


               EOS (Futures)

           Total Open Interest $29,967,511
           Total 24h Trade Volume $14,606,790
                Exchange             Symbol        Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
               BTCC Futures EOS-WEEKLY             $1.02     -0.6% 1.02 USDT         -0.049% 0.15%       6 days      $10,300,533     $4,173,433.98 Recently

               OKX (Futures) EOS-USDT-220930 $1.02           -0.5% 1.02 USDT         -0.020% 0.08%       3 months $3,175,200         $1,565,433.41 Recently

               OKX (Futures) EOS-USDT-221230 $1.02           -0.5% 1.02 USDT         0.000% 0.14%        6 months $1,742,057         $654,881.26      Recently




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                 Exchange              Symbol          Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
                OKX (Futures) EOS-USDT-220715 $1.02              -0.5% 1.02 USDT          -0.108% 0.05%     5 days      $1,232,344     $1,427,298.18 Recently

                OKX (Futures) EOS-USDT-220722 $1.02              -0.6% 1.02 USDT          -0.196% 0.12%     12 days     $779,269       $581,196.67     Recently



                Dash (Futures)

           Total Open Interest $309,323
           Total 24h Trade Volume $325,236
                Exchange           Symbol          Price  24h  Index Price  Basis  Spread  Expires in Open Interest  24h Volume  Last Traded
                BTCC Futures DASH-WEEKLY $46.48 -0.2% 46.51 USDT                        +0.026% 0.16%     6 days      $309,323       $325,236.34     Recently

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                                                                                              Case 1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 54 of 78
         ___
                            � Now LIVE� RWA Report 2024                                                                                                                                                                                             


                            Coins: 13,669   Exchanges: 1,040     Market Cap: $2.597T  0.1%    24h Vol: $115.164B   Dominance: BTC 49.9% ETH 15.3%    Gas: 31 GWEI                                                           Login       Sign Up




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                                     OKX           Centralized Exchange                                                                                               Spot   Perpetuals                      Start Trading     Affiliate disclosures




                               $25,804,496,818                                                            $6,302,218,482                                                     480
                               24h Trading Volume  36.0%                                                 24h Open Interest                                                  Pairs



                               Markets         About        Statistics        Proof of Reserves          Exchange Token 


                            Futures Markets                                                                                                                                                                                              USDT 


                              Symbol                                                       Price            24h         Index Price        Basis      Spread          ▾ Expires in        Open Interest         24h Volume             Last Updated


                                    BTC�USDT�240927                                $72,379.95           0.1%        65785.1 USDT       -9.183%        0.03%            6 months          $37,879,438          $22,163,464               Recently


                                    ETH�USDT�240927                                 $3,610.68           0.9%        3301.17 USDT       -8.644%        0.02%            6 months             $5,663,700         $7,062,859               Recently


                                    LTC�USDT�240927                                     $108.65         8.6%          97.37 USDT     -10.456%          0.1%            6 months              $344,821            $285,631               Recently


                                    EOS�USDT�240927                                       $1.05         2.5%           0.95 USDT       -9.703%         0.1%            6 months              $176,069          $24,928.08               Recently


                                    ETC�USDT�240927                                      $33.26         0.3%          30.35 USDT       -8.831%        0.45%            6 months             $14,413.11         $58,877.05               Recently


                                    XRP�USDT�240927                                     $0.6319         3.6%           0.57 USDT     -10.041%         0.02%            6 months              $2,759.42         $96,302.12               Recently


                                    BTC�USDT�240628                                $68,882.79           0.3%        65785.1 USDT       -4.572%        0.01%            3 months          $64,524,536          $57,605,303               Recently


                                    ETH�USDT�240628                                 $3,472.39           0.8%        3301.17 USDT       -5.006%        0.02%            3 months          $45,030,147          $26,087,738               Recently


                                    LTC�USDT�240628                                     $101.88         9.9%          97.37 USDT       -4.502%        0.13%            3 months             $1,232,353           $390,761               Recently


                                    EOS�USDT�240628                                       $1.01         2.2%           0.95 USDT       -5.613%        0.17%            3 months              $491,946            $140,663               Recently
                                                                                                                                                                                                                                                            




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                              Symbol                                               Price       24h       Index Price      Basis   Spread       ▾ Expires in   Open Interest    24h Volume        Last Updated


                                    ETC�USDT�240628                              $32.11      0.7%     30.35 USDT      -5.569%    0.25%         3 months       $66,258.18       $103,731            Recently


                                    XRP�USDT�240628                             $0.5988      3.4%      0.57 USDT      -5.073%    0.17%         3 months       $27,677.74       $211,686            Recently


                                    BTC�USDT�240531                           $67,742.89     0.2%   65785.1 USDT      -2.966%    0.01%    about 2 months      $2,552,363      $2,545,778           Recently


                                    BTC�USDT�240426                           $66,473.49     0.2%   65785.1 USDT      -1.113%    0.01%           22 days     $11,027,393      $5,529,929           Recently


                                    BTC�USDT�240412                           $65,973.68     0.1%   65785.1 USDT      -0.364%    0.01%            8 days      $6,536,284     $13,700,094           Recently


                                    ETH�USDT�240412                            $3,321.56     1.1%   3301.06 USDT      -0.695%    0.03%            8 days      $5,481,911      $4,870,073           Recently


                                    LTC�USDT�240412                              $98.26      8.1%     97.38 USDT      -0.976%    0.11%            8 days        $145,366       $393,032            Recently


                                    EOS�USDT�240412                              $0.951      2.9%      0.95 USDT      -0.168%    0.09%            8 days      $73,003.33      $10,555.58           Recently


                                    ETC�USDT�240412                              $30.28      0.0%     30.35 USDT      +0.165%     0.2%            8 days      $19,799.22      $55,102.72           Recently


                                    XRP�USDT�240412                             $0.5736      3.3%      0.57 USDT      -0.906%    0.09%            8 days         $627.73      $89,087.75           Recently


                                    BTC�USDT�240405                           $65,822.03     0.2%   65823.6 USDT      -0.043%    0.01%             1 day      $5,995,970     $15,942,753           Recently


                                    ETH�USDT�240405                            $3,308.21     1.1%   3301.06 USDT      -0.294%    0.03%             1 day      $1,270,484      $7,815,650           Recently


                                    LTC�USDT�240405                              $97.57      8.3%     97.37 USDT      -0.287%    0.11%             1 day      $90,741.98       $429,733            Recently


                                    EOS�USDT�240405                             $0.9548      1.6%      0.95 USDT      -0.565%    0.09%             1 day      $87,690.67      $10,950.98           Recently


                                    ETC�USDT�240405                              $30.34      0.9%     30.35 USDT      -0.033%    0.16%             1 day      $11,012.94      $57,032.00           Recently


                                    XRP�USDT�240405                               $0.57      2.6%      0.57 USDT      -0.263%    0.09%             1 day       $2,059.47       $104,415            Recently




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                               What is OKX �Futures)?                                                                                   Fees
                               OKX �Futures) is a derivative cryptocurrency exchange established in -. Currently, there
                               are 480 trading pairs available on the exchange. OKX �Futures) 24h trading volume is                     Margin Trading                                     No
                               reported to be at $25,809,073,153.17, a change of -35.96215720107495% in the last 24
                               hours, and the 24h open interest is $6,303,336,157.65, a change of -2.47% as compared to
                                                                                                                                        Market With Fees                                   No
                               the previous day. Exchange Reserves data is currently unavailable for OKX �Futures). The
                               most active trading pair is BTC/USDT with a 24h volume of $8,079,258,278.06.



                               Website                                                                                    okx.com



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                               Address                                                                                              -


                               Recent Monthly Pageviews                                                              1,023,000.0


                               Alexa Rank                                                                                   #2386


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                               Volume by Market Pair                                                                                    Volume by Currency


                                                                                         BTC�USDT�SWAP          31.37%
                                                                                         ETH�USDT�SWAP          26.35%
                                                                                         BTC�USD�SWAP            5.50%
                                                                                                                                                               USDT        88.63%
                                                                                         DOGE�USDT�...           4.91%
                                                                                                                                                               USD         12.42%
                                                                                         SOL�USDT�SWAP           4.34%
                                                                                                                                                               USDC         0.64%
                                                                                         CORE�USDT�...           3.74%
                                                                                         ETH�USD�SWAP            2.78%
                                                                                         Others                View All




                                                                                                                                                                                                            




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                               Exchange Open Interest                                                                                                                 7d      14d   1m      3m   1y      




                                                                                                                                                                                                      $6.6B



                                                                                                                                                                                                      $6.55B



                                                                                                                                                                                                      $6.5B



                                                                                                                                                                                                      $6.45B



                                                                                                                                                                                                      $6.4B



                                                                                                                                                                                                      $6.35B



                                                                                                                                                                                                      $6.3B



                                                                                                                                                                                                      $6.25B
                                 18:00             20:00            22:00     3. Apr        02:00       04:00       06:00       08:00        10:00         12:00      14:00         16:00




                                                      20:00                      3. Apr                    04:00                   08:00                      12:00                      16:00




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                               Exchange Trade Volume                                                                                                                        7d      14d   1m    3m     1y      




                                                                                                                                                                                                             $45B




                                                                                                                                                                                                             $40B




                                                                                                                                                                                                             $35B




                                                                                                                                                                                                             $30B




                                                                                                                                                                                                             $25B




                                                                                                                                                                                                             $20B
                                 18:00             20:00             22:00    3. Apr         02:00       04:00       06:00           08:00        10:00      12:00          14:00          16:00




                                                      20:00                       3. Apr                    04:00                       08:00                   12:00                          16:00




                               Liquidity                                                                                     Scale

                               Reported Trading Volume                        -                                              Normalized Volume Percentile               -


                               Normalized Trading Volume                      -                                              Combined Orderbook Percentile              -


                               Reported-Normalized Volume Ratio               -


                               Average Bid-Ask Spread                         0.054%


                               Trading Pair Total Trust Score




                                                                                                                                                                                                                                 




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         ___
                             � Now LIVE� RWA Report 2024                                                                                                                                                                                                


                             Coins: 13,669   Exchanges: 1,040     Market Cap: $2.599T  0.0%      24h Vol: $115.122B   Dominance: BTC 49.8% ETH 15.3%    Gas: 34 GWEI                                                            Login       Sign Up




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                                     Binance                  Centralized Exchange                                                                                       Spot    Perpetuals                      Start Trading     Affiliate disclosures




                                $64,155,409,655                                                              $18,758,684,592                                                     372
                                24h Trading Volume  34.1%                                                   24h Open Interest                                                   Pairs



                                Markets         About        Statistics           Proof of Reserves         Exchange Token 


                             Futures Markets                                                                                                                                                                                                 USDT 


                              Symbol ▴                                                          Price            24h           Index Price      Basis        Spread        Expires in       Open Interest          24h Volume              Last Updated


                                    BTCUSDT_240628                                       $69,058.44          0.1%        65814.72 USDT      -4.651%         0.01%                 -       $139,538,187           $89,286,003                Recently


                                    BTCUSDT_240927                                       $71,989.69          0.1%        65799.49 USDT      -8.528%         0.02%                 -        $16,972,393           $24,466,632                Recently


                                    ETHUSDT_240628                                          $3,471.79        0.9%         3302.47 USDT      -4.804%         0.02%                 -          $55,802.55          $34,300,417                Recently


                                    ETHUSDT_240927                                          $3,625.08        0.8%         3300.15 USDT      -8.919%         0.02%                 -             $9,019.74         $9,712,398                Recently




                                                                                                                                                                                                                                                                  




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Binance (Futures) Statistics: Markets, Trading Volume & Trust Score | CoinGecko                                                                                 https://www.coingecko.com/en/exchanges/binance_futures#futures
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                                What is Binance �Futures)?                                                                     Fees
                                Binance �Futures) is a derivative cryptocurrency exchange established in 2019. Currently,
                                there are 372 trading pairs available on the exchange. Binance �Futures) 24h trading           Margin Trading                                              No
                                volume is reported to be at $64,081,970,328.89, a change of -34.12867125636197% in the
                                last 24 hours, and the 24h open interest is $18,737,211,341.94, a change of -1.92% as
                                                                                                                               Market With Fees                                            No
                                compared to the previous day. Exchange Reserves data is currently unavailable for
                                Binance �Futures). The most active trading pair is BTC/USDT with a 24h volume of
                                $18,130,079,364.92.



                                Website                                                                      binance.com



                                Community                                                                       Twitter



                                Address                                                                                    -


                                Year Established                                                                     2019


                                Recent Monthly Pageviews                                                     36,920,000.0


                                Alexa Rank                                                                           #132


                                Community Data                                                                             -




                                Volume by Market Pair                                                                          Volume by Currency


                                                                                    BTCUSDT              28.28%
                                                                                    ETHUSDT              14.01%
                                                                                    SOLUSDT               6.10%                                          USDT             80.94%
                                                                                    BTCUSD_PERP           4.67%                                          USD                9.43%
                                                                                    DOGEUSDT              3.02%                                          USDC               2.00%
                                                                                    ETHUSD_PERP           1.70%                                          BUSD               0.23%
                                                                                    WIFUSDT               1.53%
                                                                                    Others             View All




                                                                                                                                                                                                             




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                                Exchange Open Interest                                                                                                                        7d     14d     1m       3m     1y      




                                                                                                                                                                                                                  $19.4B




                                                                                                                                                                                                                  $19.2B




                                                                                                                                                                                                                  $19B




                                                                                                                                                                                                                  $18.8B




                                                                                                                                                                                                                  $18.6B
                                 18:00            20:00             22:00         3. Apr          02:00       04:00       06:00       08:00        10:00          12:00      14:00           16:00




                                                     20:00                           3. Apr                      04:00                   08:00                       12:00                        16:00




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                                Exchange Trade Volume                                                                                                                                7d     14d     1m       3m     1y     




                                                                                                                                                                                                                         $110B




                                                                                                                                                                                                                         $100B




                                                                                                                                                                                                                         $90B




                                                                                                                                                                                                                         $80B




                                                                                                                                                                                                                         $70B




                                                                                                                                                                                                                         $60B
                                 18:00            20:00             22:00         3. Apr            02:00        04:00       06:00         08:00         10:00       12:00          14:00            16:00




                                                      20:00                            3. Apr                       04:00                     08:00                     12:00                            16:00




                                Liquidity                                                                                            Scale

                                Reported Trading Volume                            -                                                 Normalized Volume Percentile               -


                                Normalized Trading Volume                          -                                                 Combined Orderbook Percentile              -


                                Reported-Normalized Volume Ratio                   -


                                Average Bid-Ask Spread                             0.024%


                                Trading Pair Total Trust Score




                                                                                                                                                                                                                                               




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Crypto Exchange EQONEX expands suite of
professional trading products with launch
of Dated Futures
New EQONEX bitcoin (BTC) Dated Futures with Physical Settlement




NEWS PROVIDED BY
EQONEX 
09 Feb, 2022, 05:15 ET




SINGAPORE, Feb. 9 2022 /PRNewswire/ -- Cryptocurrency Exchange EQONEX, as part of
EQONEX Limited (Nasdaq: EQOS), today announced the launch of BTC Dated Futures with
physical settlement. This marks an important milestone in the company's expanding product
suite for experienced traders, enabling them to use commonly deployed derivatives trading
strategies in cryptocurrency markets.



This latest launch by EQONEX follows the introduction of Cross Collateral functionality,
Ethereum (ETH) Perpetual Futures, and BTC Perpetual Futures in 2021. Dated Futures for
additional cryptocurrencies including ETH will also be available on EQONEX in the coming
months.



A Dated Futures contract enables users to enter into a binding agreement to buy or sell the
underlying asset, in this case BTC, at a predetermined price at a specified date in the future.
Futures contracts are commonly used to speculate on the direction of an underlying asset
using leverage, and hedge against price movements.



EQONEX is one of the few exchanges globally to offer physically-settled futures contracts for
cryptocurrencies such as BTC. EQONEX is able to overcome common security and technical
challenges of physical BTC settlement due to its industry-leading, secure custody business 
Digivault and Case
              its fiat1:23-cr-00010-AS Document 134-1 Filed 04/08/24 Page 66 of 78
                       on-ramp capabilities.


Andrew Eldon, Interim CEO of EQONEX said, "We still see a gap in the exchange marketplace to
better serve traders who are looking for safe access to products and strategies from traditional
finance to exploit and hedge against the volatility of crypto market trading. We are removing
the barriers to entry by delivering a regulated crypto exchange, and by adding institutional-
grade products to our customers' toolkits."


"We have been very deliberate in building a business that sits at the intersection of traditional
finance and the future of finance. Those who already understand the merits of basis trading
will be particularly appreciative of this product launch, but we are also providing educational
resources to help those wanting to learn how to broaden their trading approaches for risk
management or to capture yield."


Overview of EQONEX BTC Dated Futures


     EQONEX BTC Dated Futures are denominated in the USD Coin stablecoin (USDC) and are
     linear in that the price of the futures increases as the price of BTC increases against USDC.
     The expiry of the Dated Future will occur at 08:00 UTC on the final Friday of the expiry
     month.
     Physical settlement occurs automatically on the expiry date which can also remove some
     hedging risks that exist with cash-settled contracts.
     Users can trade EQONEX BTC Dated Futures with leverage.
     EQONEX is offering an education program for those seeking to learn more about futures
     contracts for cryptocurrency markets, as well as detailed product specifications here.


About EQONEX Group


EQONEX Group is a digital assets financial services company focused on fairness, governance,
and innovation. The group encompasses cryptocurrency exchange EQONEX as well as an over-
the-counter trading platform. It also offers a front-to-back integrated trading platform, Access
Trading, a securitization advisory service EQONEX Capital, market leading hot and cold
custodian Digivault, and asset manager Bletchley Park.
                                                                                                
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For more information                    Document 134-1 Filed 04/08/24 Page 67 of 78
                      visit: https://group.eqonex.com.


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failure to obtain the requisite regulatory licenses and qualifications or establish partnerships
with entities in certain jurisdictions to satisfy regulatory requirements; changes in laws or
regulations; litigation and regulatory risks; Eqonex's inability to successfully identify, hire and
retain skilled individuals; competition; Eqonex's inability to successfully develop technology to
service its business lines and keep pace with rapidly changing technology and client or
regulatory requirements; risks of cyber incidents; reliance on vendors and third-party service
providers; inability to protect or preserve its proprietary rights and the risk of infringing on the
intellectual property rights of others; potential conflict of interest arising from managing
different business lines; risks of employee misconduct and manipulation of distributed ledger
networks and smart contract technology by malicious actors; risk of Eqonex losing access to its
private keys or data loss relating to its digital asset investments; the ability of Eqonex to grow
and manage growth profitably; general economic and market conditions impacting demand
for Eqonex's products and services, other business line specific risks and such other risks and
uncertainties included in Eqonex's Form 20-F filed with the U.S. Securities and Exchange
Commission (the "SEC") on June 30, 2021, including those under "Risk Factors" therein, and in
Eqonex's subsequent filings with the SEC, which are available on the SEC's website at
www.sec.gov.
                                                                                                  
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In addition, any    1:23-cr-00010-AS
                 forward-looking       Document
                                  statements    134-1 Filed
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                                                       in this        Page 68are
                                                               press release  of based
                                                                                 78    on
assumptions that Eqonex believes to be reasonable as of this date. Eqonex undertakes no
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          EQONEX LAUNCHES BTC DATES FUTURES WITH PHYSICAL SETTLEMENT
        FEBRUARY 21, 2022       9:09 AM UTC, RICK STEVES


      Futures contracts are commonly used to speculate on the direction of an underlying asset using leverage, and hedge against price
      movements.


                                                                       EQONEX has launched BTC Dated Futures with physical settlement on its Singapore subsidiary,
                                                                       marking an important milestone in the company’s expanding product suite.

                                                                       This latest launch offers experienced traders access to commonly deployed derivatives trading
                                                                       strategies in cryptocurrency markets.

                                                                       It also follows the introduction of Cross Collateral functionality, Ethereum (ETH) Perpetual Futures,
                                                                       and BTC Perpetual Futures in 2021.

      The digital asset exchange launched BTC Dated Futures but will eventually add dated futures for additional cryptocurrencies including ETH in the
      coming months.

                                                                                       Find us on Telegram


          BTC DATED FUTURES OFFERED IN USDC AND WITH LEVERAGE
      Andrew Eldon, Interim Chief Executive Officer of EQONEX, commented: “We still see a gap in the exchange marketplace to better serve traders who
      are looking for safe access to products and strategies from traditional finance to exploit and hedge against the volatility of crypto market trading.
      We are removing the barriers to entry by delivering a regulated crypto exchange, and by adding institutional-grade products to our customers’
      toolkits.”

      “We have been very deliberate in building a business that sits at the intersection of traditional finance and the future of finance. Those who already
      understand the merits of basis trading will be particularly appreciative of this product launch, but we are also providing educational resources to
      help those wanting to learn how to broaden their trading approaches for risk management or to capture yield.”

      A Dated Futures contract enables users to enter into a binding agreement to buy or sell the underlying asset, in this case BTC, at a predetermined
      price at a specified date in the future.

      Futures contracts are commonly used to speculate on the direction of an underlying asset using leverage, and hedge against price movements.

      Few exchanges offer physically-settled futures contracts for cryptocurrencies as it requires exchanges to overcome common security and technical
      challenges of physical BTC settlement. EQONEX leverages Digivault’s custody and its fiat on-ramp capabilities.

      An overview of EQONEX BTC Dated Futures:

         EQONEX BTC Dated Futures are denominated in the USD Coin stablecoin (USDC) and are linear in that the price of the futures increases as the
         price of BTC increases against USDC.
         The expiry of the Dated Future will occur at 08:00 UTC on the final Friday of the expiry month.
         Physical settlement occurs automatically on the expiry date which can also remove some hedging risks that exist with cash-settled contracts.
         Users can trade EQONEX BTC Dated Futures with leverage.
         EQONEX is offering an education program for those seeking to learn more about futures contracts for cryptocurrency markets, as well as detailed
         product specifications here.

      EQONEX encompasses cryptocurrency exchange as well as an over-the-counter trading platform, while offering a front-to-back integrated trading
      platform, Access Trading, a securitization advisory service EQONEX Capital, market-leading hot and cold custodian Digivault, and asset manager
      Bletchley Park.


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             SLASH FINTECH AND DYDX JAPAN LAUNCH JOINT MARKETING EVENT TO EXPAND IN THE ASIAN MARKET


         Decentralized payment protocol Slash has announced the launch of a joint marketing event with perp DEX platform dYdX Japan. Aimed at
         fostering business development in the Asian market, the campaign will run from April 3 until April 17.




         BLOCKDAG

             BLOCKDAG LEADS CRYPTO INNOVATION WITH $14.2M PRESALE MILESTONE AND ANDROID MINING,
             AMID DOGECOIN AND POLKADOT DEVELOPMENTS

         This article explores the dynamic shifts within the crypto ecosystem, focusing on BlockDAG’s impressive strides alongside Dogecoin’s
         transactional innovation and Polkadot’s DeFi enhancements.




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         EDUCATION

             WHAT SHOULD YOU WATCH FOR WHEN USING HIGH LEVERAGE TRADING TOOLS?


         High-leverage trading enables traders to increase their exposure to market fluctuations by borrowing cash, possibly amplifying rewards.
         However, this carries a substantially higher risk since the same multiplier effect applies to losses.




         BLOCKDAG

             BLOCKDAG EYES $10 BY 2025 SETS THE STAGE FOR BNB CHAIN MEME COINS AMID SHIBA INU PRICE
             PREDICTION

         As the Shiba Inu price prediction catches the attention, the crypto market is brimming with potential. Amidst this, the BNB chain meme coin
         showcases its resilience, thriving under regulatory scrutiny. However, BlockDAG has gained the attention of potential investors.




         RETAIL FX

             THE FUNDED TRADER CLOSURE: A SIGN OF CHANGING TIMES IN PROP TRADING


         The Funded Trader, a once highly regarded proprietary trading firm, has suspended its operations and website, leaving the trading community in
         shock and uncertainty. In this article, we report on the unfolding situation, delving into the root causes that led to the firm’s abrupt pause.




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         RETAIL FX

             WEEKLY ROUNDUP: RIPPLE LAUNCHES STABLECOIN, XTB HITS 1 MILLION CLIENTS


         Let’s take a look back at top stories that dominated the financial markets in our Weekly Round coverage. This week’s digest takes a deep dive into
         the most recent events and trends within the Forex, Fintech, and cryptocurrency.




         BLOCKDAG

             BLOCKDAG WHITE PAPER LAUNCH – THE BEST CRYPTO PRESALE WITH 30,000X ROI POTENTIAL VS KLXO
             PRESALE AND DOGE20

         Highlighting the Kelexo (KLXO) and DOGE20 presales, becoming the most discussed event in the crypto community. But are they worthy to
         deliver?




         BLOCKDAG

             BLOCKDAG LEADS CRYPTO REVOLUTION WITH 20,000X ROI POTENTIAL, AMID SOLANA DEX’S RECORD
             TRANSACTIONS AND CATCOIN’S SURGE

         The cryptocurrency market is witnessing a seismic shift with BlockDAG at the helm, promising an astonishing 20,000x return on investment, as
         the Solana DEX breaks new ground with $60 billion in transactions, and Catcoin captures the market’s imagination with its bullish trajectory.


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         BLOCKDAG

             BLOCKDAG SHUTS DOWN DEFI MARKET WITH 20,000X ROI, STEERS IMMUTABLE X PRICE INCREASE &
             STARKNET TOKEN UNLOCK

         BlockDAG is causing a seismic shift in the DeFi market, introducing an earth-shattering 20,000x return on investment (ROI) potential that’s
         capturing the attention of the entire cryptocurrency industry.




                                                                                                    <




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                                                             BTC Dated Future                          Product Specification

                                                             Instrument Type                           Dated Future

                                                             Ticker                                    BTC/USDC[YYMMDD]

                                                             Description                               BTC/USDC [Futures Contract]

                                                             Underlying                                1 BTC

                                                             Settlement                                Physically settled into BTC

                                                             Minimum Order Size                        0.0001 BTC

                                                             Tick Size                                 0.01 USDC

                                                             Expiry                                    08:00 UTC on the Final Friday of the
                                                                                                       expiry month

                                                             Last Trade Time                           07:58 UTC on the Final Friday of the
                                                                                                       expiry month

                                                             Settlement Price                          The Settlement Price will be
                                                                                                       determined by the Auction feature on
                                                                                                       the expiry day. If the Auction feature is
                                                                                                       not available or an auction price could
                                                                                                       not be determined, then the
                                                                                                       Settlement Price will be the Spot
                                                                                                       Exchange Index.

                                                             Market Price                              Median (Bid, Last, Ask)

                                                             Mark Price                                3-second TWAP of the Market Price or,
                                                                                                       under certain conditions, Spot
                                                                                                       Exchange Index * (1 + Futures Premium)
                                                                                                       at last valid calculation time.
                                                                                                       The TWAP is based on the average of
                                                                                                       the open, high, low, and close of each
                                                                                                       1-second bar.
                                                                                                       Conditions under which Mark Price
                                                                                                       uses Spot Exchange Index * (1 +
                                                                                                       Futures Premium) are any of the
                                                                                                       following:


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                                                                                                         1. There is no bid price
                                                                                                        2. There is no ask price
                                                                                                        3. The bid offer spread is greater
                                                                                                           than 5%

                                                                                                       Futures Premium = ( A - B ) / B
                                                                                                       Where:
                                                                                                       A = The last valid Futures Mark Price
                                                                                                       coming from Market Price TWAP.
                                                                                                       B = The most recently available Mark
                                                                                                       Price of the Spot underlying the Dated
                                                                                                       Future at the time when the condition
                                                                                                       required to use the Futures Premium
                                                                                                       was met.

                                                              Max Leverage                             125x

                                                              Margin requirements                      See Margin & Maximum Leverage and
                                                                                                       Delivery Margin for Dated Futures
                                                                                                       Contracts

                                                              Fees                                     Fees are charged based on the
                                                                                                       customer fee tier (Derivatives Fees)

                                                              Liquidation Fee                          0.375%

                                                              Settlement Fee                           0.02%

                                                              Position Limit                           There is no maximum position limit for
                                                                                                       this product.



                                                             For further assistance or more information, please contact our Customer Support
                                                             team via help@eqonex.com or click on the chat widget at the bottom right-hand
                                                             side of the EQONEX page.




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BTC/USDC Dated Futures Specifications | EQONEX Help Center                                                            https://web.archive.org/web/20220520105008/https:/help.eqonex.com/en/articles/5919446-btc-usdc-dated-futures-specifications
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                                                                                   Did this answer your question?


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